Case 08-13141-BLS Doc 5813-1 Filed 09/25/10 Page 1of3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,! Case No. 08-13141 (KJC)
Debtors. Jointly Administered
Objection Deadline: October 15, 2010 at 4:00 p.m.
Hearing Date: October 22, 2010 at 11:00 a.m.

NOTICE OF APPLICATION OF THE DEBTORS FOR AN ORDER AUTHORIZING
DEBTOR TRIBUNE COMPANY TO RETAIN AND EMPLOY SITRICK AND COMPANY
AS CORPORATE COMMUNICATIONS CONSULTANTS PURSUANT TO
11 U.S.C. § 327(a), NUNC PRO TUNC TO AUGUST 26, 2010

TO: (i) the Office of the U.S. Trustee; (ii) counsel for the Committee; (iii) counsel for the
Steering Committee for Tribune’s prepetition loan facilities; (iv) counsel for the
administrative agent for the Debtors’ post-petition financing facility; (v) counsel to Sitrick;
and (vi) all parties requesting notice pursuant to Bankruptcy Rule 2002, in accordance with
Local Rule 2002

PLEASE TAKE NOTICE that, on September 25, 2010, the above-captioned debtors and
debtors in possession, filed the Application of the Debtors for an Order Authorizing Debtor

' The Debtors in these chapter |] cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510), Baltimore Newspaper Networks, Inc. (8258); California Community
News Corporation (5306), Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc. (3844); Chicago
Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437), Chicago Tribune
Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579); Chicagoland Publishing
Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail Associates, Inc. (6121);
Distribution Systems of America, Inc. (3811), Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327);
forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation (5628), Forum Publishing
Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc. (9808); Homeowners Realty, Inc.
(1507), Homestead Publishing Co. (4903); Hoy, LLC (8033); Hoy Publications, LLC (2352), InsertCo, Inc. (2663); Internet Foreclosure Service, Inc.
(6550); JuliusAir Company, LLC (9479); JuliusAir Company 1], LLC; KIAH Inc. (4014); KPLR, Inc. (7943); KSWB Inc. (7035); KTLA Inc. (3404);
KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times International, Ltd. (6079); Los Angeles Times
Newspapers, Inc. (0416), Magic T Music Publishing Company (6522); NBBF, LLC (0893); Neocomm, Inc. (7208); New Mass. Media, Inc. (9553);
Newscom Services, Inc. (4817), Newspaper Readers Agency, Inc. (7335); North Michigan Production Company (5466); North Orange Avenue
Properties, Inc. (4036), Oak Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775); Patuxent Publishing Company
(4223), Publishers Forest Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of
Distinction, Inc, (3603), Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-
Sentinel Company (2684), The Baltimore Sun Company (6880), The Daily Press, Inc. (9368); The Hartford Courant Company (3490), The Morning
Call, Inc. (7560); The Other Company LLC (5337), Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company,
Inc. (4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325),
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569), Tribune Broadcasting Holdco, LLC (2534), Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington
Bureau Inc. (1088); Tribune California Properties, Inc. (1629); Tribune CNLBC, LLC, f/k/a Chicago National League Ball Club, LLC (0347),
Tribune Direct Marketing, Inc. (1479), Tribune Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune
Finance, LLC (2537), Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune
Manhattan Newspaper Holdings, Inc. (7279), Tribune Media Net, Inc. (7847); Tribune Media Services, Inc. (1080); Tribune Network Holdings
Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune
Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest,
Inc. (2975), ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384),
WCCT, Inc., t/k/a WTXX Inc. (1268); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530);
WLVI Inc. (8074); and WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan
Avenue, Chicago, Illinois 60611.

46429/0001-7028859v1
September 25, 2010
Case 08-13141-BLS Doc 5813-1 Filed 09/25/10 Page 2 of 3

Tribune Company to Retain and Employ Sitrick And Company as Corporate
Communications Consultants Pursuant to 11 U.S.C. § 327(a), Nunc Pro Tunc to August 26,
2010 (the “Application’’), which seeks entry of an order authorizing the Debtors to employ and
retain Sitrick And Company as corporate communications consultants.

You are required to file any response to the Application on or before 4:00 p.m. (Prevailing
Eastern Time) on October 15, 2010.

At the same time, you must also serve a copy of any response upon Sitrick And Company
and Debtors’ attorneys, at the address listed below, so that it is received by 4:00 p.m. (Prevailing
Eastern Time) on October 15, 2010:

SIDLEY AUSTIN LLP COLE, SCHOTZ, MEISEL, SITRICK AND COMPANY
James F. Conlan FORMAN & LEONARD, P.A. Michael S. Sitrick

Bryan Krakauer Norman L. Pernick 1840 Century Park East, Suite 800
Gregory Demo J. Kate Stickles Los Angeles, CA 90067

One South Dearborn Street 500 Delaware Avenue, Suite 1410 Telephone: (310) 788-2850
Chicago, IL, 60603 Wilmington, DE 19801 Facsimile: (310) 788-2855

Telephone: (312) 853-7000 Telephone: (302) 652-3131
Facsimile: (312) 853-7036 Facsimile: (302) 652-3117

A HEARING ON THE APPLICATION WILL BE HELD ON OCTOBER 22, 2010 AT
2:00 P.M. (PREVAILING EASTERN TIME) BEFORE THE HONORABLE KEVIN J. CAREY,
CHIEF UNITED STATES BANKRUPTCY JUDGE, UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE, 824 NORTH MARKET STREET, 5'" FLOOR,
COURTROOM NO. 5, WILMINGTON, DE 19801.

IF YOU FAIL TO RESPOND IN ACCORDANCE WITH THIS NOTICE, THE COURT
MAY GRANT THE RELIEF REQUESTED BY THE APPLICATION WITHOUT FURTHER
NOTICE OR HEARING.

Date: September 25, 2010 SIDLEY AUSTIN LLP
James F. Conlan
Bryan Krakauer
Kenneth P. Kansa
Alison Leff Triggs
One South Dearborn Street
Chicago, IL 60603
Telephone: (312) 853-7000
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- and —

46429/0001-7028859v 1
September 25, 2010
Case 08-13141-BLS Doc 5813-1 Filed 09/25/10 Page 3of 3

COLE, SCHOTZ, MEISEL,
FORMAN & LEONARD, P.A.

By: | ated bubbly
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ATTORNEYS FOR DEBTORS
AND DEBTORS IN POSSESSION

46429/0001-7028859v1
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